        Case:09-11070-MER Doc#:620 Filed:10/26/17                              Entered:10/26/17 22:35:25 Page1 of 3
                                               United States Bankruptcy Court
                                                   District of Colorado
In re:                                                                                                     Case No. 09-11070-MER
High Country Club, LLC                                                                                     Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 1082-1                  User: eckhardtc                    Page 1 of 2                          Date Rcvd: Oct 24, 2017
                                      Form ID: pdf904                    Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Oct 26, 2017.
intp           +Ocwen Loan Servicing, LLC,   5347 S. Valentia Way Ste. 100,   Greenwood Village, CO 80111-3107

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Oct 26, 2017                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on October 24, 2017 at the address(es) listed below:
              Bradford E. Dempsey    on behalf of Creditor    Red Hawk Townhome Condominiums
               brad.dempsey@faegrebd.com, candee.smith@FaegreBD.com;susan.haag@faegrebd.com
              Bradford E. Dempsey    on behalf of Creditor    The Townhomes at Settlers Creek Condominium
               Association, Inc. brad.dempsey@faegrebd.com, candee.smith@FaegreBD.com;susan.haag@faegrebd.com
              Bradford E. Dempsey    on behalf of Creditor    The Keystone Neighbourhood Company, Inc.
               brad.dempsey@faegrebd.com, candee.smith@FaegreBD.com;susan.haag@faegrebd.com
              Christian C. Onsager    on behalf of Debtor    High Country Club, LLC consager@OFJlaw.com,
               consager@ecf.courtdrive.com;bmoss@ecf.courtdrive.com
              Dayle L. Anderson    on behalf of Creditor    Lakota Owners Association, Inc.
               d.l.anderson@comcast.net
              Elizabeth Bryans     on behalf of Plaintiff Jeffrey A. Weinman, Chapter 7 Trustee
               ebryans@allen-vellone.com, mmorton@allen-vellone.com
              Ethan Birnberg     on behalf of Plaintiff Jeffrey A. Weinman, Chapter 7 Trustee
               ebirnberg@lindquist.com, bblessing@lindquist.com
              Ethan Birnberg     on behalf of Trustee Jeffrey A. Weinman ebirnberg@lindquist.com,
               bblessing@lindquist.com
              Harrie F. Lewis    on behalf of Trustee Jeffrey A. Weinman hlewis@lindquist.com,
               lparker@lindquist.com
              Harrie F. Lewis    on behalf of Plaintiff Jeffrey A. Weinman, Chapter 7 Trustee
               hlewis@lindquist.com, lparker@lindquist.com
              Holly L. Decker    on behalf of Creditor    Aurora Loan Services, LLC bankruptcy@medvedlaw.com
              Jeffrey Weinman     on behalf of Plaintiff Jeffrey A. Weinman, Chapter 7 Trustee
               jweinman@epitrustee.com, lkraai@weinmanpc.com;lkraai@ecf.courtdrive.com
              Jeffrey A. Weinman    on behalf of Trustee Jeffrey A. Weinman jweinman@epitrustee.com,
               jweinman@ecf.epiqsystems.com;lkraai@ecf.courtdrive.com
              Kevin L. Ehlers    on behalf of Defendant    Olana & Associates kevin@kevinehlerslaw.com,
               gwail@kevinehlerslaw.com
              Laurie Stirman     on behalf of Defendant    Paramount Destinations, Inc.
               laurie@stirmanlawoffice.com, ces@stirmanlawoffice.com
              Lawrence B. Leff    on behalf of Creditor    The village at copper association lbleff@wlpplaw.com,
               Holson@wlpplaw.com;Mvargas@wlpplaw.com
              Mark S. Ratner    on behalf of Defendant    Omni Hotels Management Corporation
               ratnerm@hallevans.com, guruler@hallevans.com
              Patrick D. Vellone    on behalf of Spec. Counsel    Allen & Vellone pvellone@allen-vellone.com,
               la@allen-vellone.com
              Patrick D. Vellone    on behalf of Plaintiff Jeffrey A. Weinman, Chapter 7 Trustee
               pvellone@allen-vellone.com, la@allen-vellone.com
              Patrick D. Vellone    on behalf of Trustee Jeffrey A. Weinman pvellone@allen-vellone.com,
               la@allen-vellone.com
              Paul G. Urtz    on behalf of Defendant    American Express Travel Related Services Company, Inc.
               paulurtz@stutzmillerurtz.com
     Case:09-11070-MER Doc#:620 Filed:10/26/17                 Entered:10/26/17 22:35:25 Page2 of 3



District/off: 1082-1          User: eckhardtc             Page 2 of 2                  Date Rcvd: Oct 24, 2017
                              Form ID: pdf904             Total Noticed: 1


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system (continued)
              Stephen Dexter     on behalf of Defendant   BKD, LLP sdexter@lathropgage.com,
               CHuffman@LathropGage.com
              Stuart M. Altman    on behalf of Defendant   Sam Properties, LLC stuart.altman@hoganlovells.com,
               dj.mckune@hoganlovells.com;tyann.cyrus@hoganlovells.com
              Theodore J. Hartl    on behalf of Trustee Jeffrey A. Weinman thartl@lindquist.com,
               bblessing@lindquist.com
              Thomas F. Quinn    on behalf of Creditor   The Callahan Group, LLC tquinn@tfqlaw.com,
               officeadmin@tfqlaw.com
              Thomas F. Quinn    on behalf of Creditor   The Phoenix Club, LLC tquinn@tfqlaw.com,
               officeadmin@tfqlaw.com
              US Trustee, 7    USTPRegion19.DV.ECF@usdoj.gov
                                                                                             TOTAL: 27
Case:09-11070-MER Doc#:620 Filed:10/26/17   Entered:10/26/17 22:35:25 Page3 of 3
